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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                     )
                                              )
                    Plaintiff,                )
                                              )
             vs.                              )                 8:05CR94
                                              )
JUAN GARCIA,                                  )                  ORDER
                                              )
                    Defendant.                )



      Before the Court is Defendant’s Motion to Withdraw [233]. The motion is
granted;

      IT IS ORDERED:

      1.     That the defendant Juan Garcia’s Motion to Withdraw [233] is granted (the Clerk
             shall also terminate defendant’s Motion to Withdraw [232] which is filed with an
             incorrect attachment); and

      2.     The Motion to Suppress Wiretap Evidence [167] and the Amended Motion to
             Suppress Wiretap Evidence [214] filed by the defendant are withdrawn.

      DATED this 26th day of Mayl, 2006.

                                           BY THE COURT:


                                           s/ F.A. Gossett
                                           United States Magistrate Judge
